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4    Attorney for David Arias Mendoza
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8                             UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA, ) CASE No. 1:14-CR-00154 LJO
11
                               )
12                             ) STIPULATION REGARDING
               Plaintiff,      ) CONTINUANCE OF SENTENCING AND
13                             ) ORDER
          v.                   )
14
                               )
15   DAVID ARIAS MENDOZA,      )
                               )
16             Defendant.      )
17
                                           STIPULATION
18
          Defendant by and through his counsel of record and Plaintiff by and through its
19
     counsel of record, hereby stipulate as follows:
20
          1.   By this stipulation, the parties now move to continue the sentencing date from
21
     September 26, 2016 at 8:30 a.m. to October 17, 2016 at 10:00 a.m.
22
          2.   The parties agree and stipulate, and request that the Court grant the continuance
23   due to the fact that more information regarding sentencing must be obtained.
24

25    IT IS SO STIPULATED:
26   //

27
     //
     //
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     Case 1:14-cr-00154-JLT-SKO Document 176 Filed 09/19/16 Page 2 of 2


1    DATED:       September 19, 2016
2                                      Respectfully submitted,
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4
                                       s/s Barbara Hope O’Neill        .
5                                      BARBARA HOPE O’NEILL,
                                       Attorney for David Arias Mendoza
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8
     DATED:       September 19, 2016   s/s Kimberly A. Sanchez          .
9                                      Kimberly A. Sanchez
                                       Assistant United States Attorney
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13   IT IS SO ORDERED.

14
        Dated:   September 19, 2016                /s/ Lawrence J. O’Neill
15   _____
                                          UNITED STATES CHIEF DISTRICT
16   JUDGE
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